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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

No. QO7-cev-05944 SC
MDL No. 1917

This Document Relates to:
...-(continuing caption page 2)

SUPERIOR COURT OF THE STATE OF CALIFORNIA
CITY AND COUNTY OF SAN FRANCISCO

STATE OF CALIFORNIA, et al., —

Plaintiffs,
No. CGC-11-515784

SAMSUNG SDI, INC., CO., LTD,
et al.,
’ Defendants.

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HIGHLY CONFIDENTIAL
DEPOSITION OF LG ELECTRONICS
KYUNG TAE KWON
San Francisco, California
Friday, July 13, 2012
Volume I ,
Reported by:
SUZANNE F. BOSCHETTI
CSR No. 5111

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if it also referred to TVs. If I can find the
document, I can explain it better.

Q Did LG Electronics Inc. calculate the
relationship between its total costs and selling
price for each model of CRTs?

A Yes.

Q Now, when a ~- when a CRT was manufactured
and transferred to a related subsidiary or affiliate
of LG Electronics engaged in the manufacture of
either televisions or computer monitors, how was the
CRT price to the related subsidiary or affiliate
determined?

MR. MUDGE: Object to the form.

THE WITNESS: There ~-. there were prices
that LG Electronics charged to the external
companies for its CRTs. And to my recallection, I
believe the prices of CRTs we charged was at around
95 percent of the prices that we charged externally
during the past three months.

BY MR. SPECKS:

Q All right. Let's switch over at this
point. Let's talk about CRT televisions.

With respect to the manufacture of CRT
televisions from 1995 through 2007, what were the

primary material components of a CRT television?

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to the sales and the related transactions were left
in the M system, and most of them I believe would
have been left in the M system. However, the data
related to the uncollected bond or the data relating
to the accounting would have been transferred to ERP
system.

Q all right. When did this changeover occur

from the M system to the ERP system?

A Are you referring to LG USA?

Q Yes.

A It was probably in 2009 for LG USA.

Q Tell me, what are the major cost, material

cost components for manufacture of a CRT computer
monitor?

A The material cost for CRT for monitor
includes the CDT tube, front cabinet, back cover.
And on the bottom we have tilt swivel which moves
left and right, and inside there is a main board
which is a circuit board, And we have power board
just like TV, but you can think of it as TV
components minus tuner from TV. Of course, the tube
that is used in monitors are different types of
tubes that are used in the case of TV. TV uses TPT,
but monitor uses CDT.

Q Approximately what percentage of the total

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